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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


ISAAC HARRIS, et al.                )
                        Plaintiffs, )
                                    )
v.                                  )
                                    ) Civil Action No. 1:17-cv-01371
MEDICAL TRANSPORTATION              )
MANAGEMENT, INC.,                   )
                                    )
                       Defendant. )
                                    )


   PLAINTIFFS’ CONDITIONAL MOTION TO TOLL LIMITATIONS PERIOD FOR
                   PUTATIVE COLLECTIVE MEMBERS

            NOW COME Plaintiffs Isaac Harris, Darnell Frye, and Leo Franklin, by and through

their counsel, and move the Court to toll the running of the limitations period for all putative

members of Plaintiffs’ proposed collective.       Plaintiffs filed their Motion for Conditional

Certification of this collective on October 2, 2017, after Defendant Medical Transportation

Management, Inc. (MTM) filed a Motion to Dismiss the complaint in this case. See Dkt. 10, 14.

The Court need not resolve the Motion to Dismiss in order to rule on Plaintiffs’ Motion for

Conditional Certification, and Plaintiffs request that this Court address their pending motion as

soon as possible. If the Court desires to resolve the Motion to Dismiss first or at the same time

as the Motion for Conditional Certification, Plaintiffs request that this Court toll the limitations

period for all putative collective members’ claims.       While these motions are pending, the

limitations periods for each of these claims continue to run, see 29 U.S.C. § 256(b), creating the

potential that putative collective members’ claims will be substantially diminished or

extinguished while awaiting the ability to intervene. Without tolling, the putative collective




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members will be prejudiced, notwithstanding their diligent efforts to pursue their right. Further

grounds for this motion are set forth in the attached Memorandum.

            Plaintiffs conferred with MTM on the relief sought herein in compliance with LCvR

7(m), and MTM indicated that it did not concur in the relief requested.

            THEREFORE, Plaintiffs respectfully request that this Court toll the limitations period for

all putative members of the proposed collective from the date this Motion is filed until 90 days

after Notice has issued.



Dated: October 2, 2017                                  Respectfully submitted,

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